                      Exhibit A




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               UNITED STATES DISTRICT COURT
      FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                             )
FEDERAL TRADE COMMISSION,    )
STATE OF CALIFORNIA,         )
STATE OF COLORADO,           )
STATE OF ILLINOIS,           )
STATE OF INDIANA,            )
STATE OF IOWA,               )
STATE OF MINNESOTA,          )
STATE OF NEBRASKA,           )
STATE OF OREGON,             )
STATE OF TEXAS,              )
     and                     )
STATE OF WISCONSIN,          )
                             )
                                        Civil Action No. 22-CV-828
         Plaintiffs,         )
                             )
     v.                      )
                             )
SYNGENTA CROP PROTECTION AG, )
SYNGENTA CORPORATION,        )
SYNGENTA CROP PROTECTION,    )
LLC,                         )
     and                     )
CORTEVA, INC.,               )
                             )
         Defendants.



    [PROPOSED] MEMORANDUM OF LAW IN SUPPORT OF
           SYNGENTA’S MOTION TO DISMISS




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                        NATURE OF THE MATTER

      Plaintiffs assert claims under FTC Act § 5, Clayton Act § 3, Sherman

Act §§ 1 and 2, and the antitrust and consumer protection laws of ten states.

Defendants Syngenta Crop Protection, LLC, Syngenta Crop Protection AG,

and Syngenta Corporation (collectively, “Syngenta”) move to dismiss under

Rule 12(b)(6). 1

                       PRELIMINARY STATEMENT

      This lawsuit is premised on the remarkable proposition that reducing

prices—without more—is anticompetitive. The FTC and the States advance

an unprecedented and unfounded theory that an industry-standard rebate

program offering a modest, optional discount to customers to incentivize

increased purchases violates the antitrust laws. That theory turns antitrust

law on its head, and no court has ever endorsed it.

      Rebate programs that reduce prices to above-cost levels are permissible

as a matter of law, except in narrow circumstances where customers are

forced to participate by coercive non-price features. Nothing of the sort is

pleaded or present here. Stripped of its pejorative characterizations and

empty labels, the Complaint describes a standard, above-cost rebate program

that offers lower prices to incentivize customers of all sizes to purchase more



      1 Unless otherwise noted, emphasis has been added to quotations, and

internal quotations, citations and footnotes have been omitted.




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of a particular product line from Syngenta. This program is entirely lawful.

As courts have repeatedly recognized, the only “harm” that such a program

could cause is pressuring rivals to compete more vigorously against above-

cost prices. This is the essence of legitimate competition. Accordingly, the

Complaint fails to allege competitive harm.

      If this Complaint is upheld, then virtually any loyalty rebate program

could plausibly be alleged to be anticompetitive. That is not the law, and the

Court should not create new law that would punish the very conduct—price

cutting—the antitrust laws are designed to promote.

      The Complaint’s deficiencies are particularly glaring given that the

FTC investigated Syngenta—and obtained nearly unlimited discovery from

Syngenta and third parties—for three years before filing this lawsuit. If

there were any facts that could have been pleaded to bolster Plaintiffs’

claims, then they would have been pleaded.

      The Complaint fails for five central reasons.

      First, because the Complaint alleges nothing more than a typical

loyalty rebate program, the applicable legal standard is the well-established

“price-cost test,” which precludes liability on Plaintiffs’ allegations. Under

this test, when price is the core feature of a loyalty program, courts will not

condemn the program, regardless of alleged market power or purported

effects, as long as the reduced prices are above cost—and thus not

                                        2



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“predatory.” Here, Plaintiffs have not alleged any non-price exclusionary

feature of Syngenta’s single-product line, short-term loyalty rebate program,

nor can they.

      The Third Circuit—the circuit with the most experience analyzing

loyalty rebate programs—has explained:

      [W]hen pricing predominates over other means of exclusivity, the
      price-cost test applies. This is usually the case when a firm uses
      a single-product loyalty discount or rebate …. In that situation,
      an equally efficient competitor can match the loyalty price and …
      compete on the merits. More in-depth factual analysis is
      unnecessary because … ‘the balance always tips in favor of
      allowing above-cost pricing practices’ …. [T]he above-cost pricing
      … is per se legal.

Eisai, Inc. v. Sanofi-Aventis U.S., LLC, 821 F.3d 394, 409 (3d Cir. 2016).

Here, Plaintiffs do not—and cannot—plead that Syngenta’s discounted prices

are below its costs. Thus, the legal question presented by this motion is

simply: Is this presumption of “usual” legality overcome by plausible

allegations of fact showing that coercive or otherwise exclusionary non-price

features of Syngenta’s loyalty program “predominate” over price? The

answer is no.

      The facts here contrast sharply with the few cases where loyalty

programs have been found to be potentially anticompetitive. Those programs

involved multiple non-price features that could have coerced customers to

comply with the rebate conditions, or could have excluded rivals other than

by lowering prices—features such as (i) bundling or tying across multiple
                                       3



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product lines, (ii) multi-year purchasing requirements, (iii) punishments for

falling below loyalty thresholds (such as termination of supply or forfeiture of

accrued but unpaid rebates), or (iv) conditioning rebates on customers

blocking all rival suppliers. After three years of discovery by the FTC, the

Complaint alleges no such features of Syngenta’s program that could harm

competition, and pleads no factual allegations of cognizable harm to

competition. In an attempt to evade dismissal, the Complaint asserts in

vague, conclusory fashion that Syngenta’s program has a coercive effect and

that Syngenta behaved coercively on unspecified occasions. But those

allegations, which should not be credited, simply signpost the Complaint’s

fatal omissions.

      Second, Plaintiffs’ claims fail for the independent reason that the

Complaint does not show the requisite element of harm to competition.

Competing on quality and price can impact competitors, but only conduct

causing anticompetitive foreclosure can be unlawful. Because Syngenta’s

rebate program constitutes competition on the merits, its effect on

competitors cannot be anticompetitive. Indeed, Plaintiffs plead facts showing

how the substantial and thriving presence of generic competitors in the

market pose a “competitive threat” to Syngenta.

      Third, the FTC’s claim under Section 5 of the FTC Act does not

circumvent the well-established law governing loyalty rebate programs. This

                                       4



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lawsuit is part of the current FTC’s well-publicized agenda to transform

established antitrust law. The FTC recently announced—in a policy

statement it issued after filing this lawsuit—its belief that Section 5 grants it

sweeping powers. 2 That FTC statement rejects prior bipartisan guidance

interpreting Section 5 consistently with long-established Sherman Act

precedent. In support of that position, the FTC Chair even criticized the

Obama Administration as “abdicat[ing]” its role because it did not attempt to

enforce Section 5 in the unprecedented manner asserted now. 3 Whatever

authority Section 5 does or does not afford the FTC, Section 5 does not upend

bedrock antitrust principles, including that antitrust law exists to protect

competition, not competitors, and that above-cost price-cutting is the essence

of competition, as courts have long recognized. This Court should reject the

attempt by the FTC to invent a new standard for loyalty rebate programs

under Section 5.

      Fourth, the Complaint should be dismissed for the independent reason

that it alleges legally defective product markets. Under black-letter antitrust



      2 FTC, Policy Statement Regarding the Scope of Unfair Methods of

Competition Under Section 5 of the Federal Trade Commission Act (Nov. 10,
2022), available at
www.ftc.gov/system/files/ftc gov/pdf/P221202Section5PolicyStatement.pdf.
      3 Available at

www.ftc.gov/system/files/ftc gov/pdf/Section5PolicyStmtKhanSlaughterBedoy
aStmt.pdf.
                                        5



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law, claims of anticompetitive exclusion require allegations showing market

power within a properly defined product market. A product market is

properly defined to reflect commercial realities by embracing “reasonable

interchangeable” substitutes in consumer use. The improper market

definitions pleaded here—based on a product’s “active ingredient” (or “AI”)

rather than the product’s functional usage—are too narrow, because no facts

are pleaded excluding pesticides containing different AIs as reasonable

substitutes. The Complaint fudges this issue by alleging that pesticides

based on the same AI are closer substitutes—but that slippery standard is

not the legal test. Notably, Plaintiffs’ market definitions are significantly

narrower than functional definitions used by the FTC itself in matters

involving the same products.

      Fifth, the legality of Syngenta’s loyalty program under federal antitrust

law defeats the claims under the various state antitrust laws, which are

generally interpreted consistently with federal law. The two consumer

protection claims fail for additional reasons explained below. Alternatively, if

the Court dismisses the federal claims, it can decline jurisdiction over the

state claims.

                         QUESTION PRESENTED

      Should the Complaint be dismissed for these five reasons?



                                        6



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                         FACTUAL ALLEGATIONS 4

      A.    The Crop-Protection Industry

      Syngenta researches, discovers, develops, manufactures, and sells

pesticides that “dramatically increase” farmers’ “crop yields and quality.”

Compl. ¶¶ 31, 34-35. Each pesticide combines at least one chemical—the

“AI”—with inert components. Id. ¶ 37. Each AI has a “mode of action” and

different AIs that “share a common mode of action tend to have similar use

cases”; among different products with similar use cases, products containing

the same AI are allegedly “closer” substitutes. Id. ¶ 40.

      A “patent and regulatory framework” that “rewards innovation”

governs the development and manufacturing of crop-protection products.

Compl. ¶ 44. When an innovator that researches and develops new products

(also called a “basic” manufacturer) such as Syngenta invents a new AI, it can

apply for 20-year patent protection. Id. ¶¶ 42, 45. Under the Federal

Insecticide, Fungicide, and Rodenticide Act (FIFRA), Environmental

Protection Agency (EPA) approval of a new AI grants the inventor “the

exclusive right to cite the data it submitted in support of the [AI]” for ten

years. Id. ¶¶ 46-47.




      4 Plaintiffs’ allegations are incomplete, misleading, and often

inaccurate. The well-pleaded facts are nonetheless assumed to be true for
this motion.
                                        7



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higher quality products, and other product advantages contribute to price

differences. And the Complaint likewise disregards the broader implications

of                                  on competition among products used by

farmers for whom a successful harvest is paramount.

       “Traditional” distributors handle about 90% of all U.S. sales of crop

protection products, branded and generic, with seven distributors handling

over 90% of sales through this channel. Compl. ¶ 49. Distributors sell to

retailers “in close proximity to farmers” nationwide. Id. Plaintiffs

acknowledge that generic manufacturers can “circumven[t]” traditional

distributors through “direct sales to local retailers or farmers,” but argue that

direct sales are generally not “efficien[t].” Id. ¶ 50(c).

       B.    Syngenta’s Loyalty Rebate Program

       For decades, Syngenta’s loyalty program has offered rebates to

distributors and retailers for purchasing Syngenta products containing

certain AIs for which the compound patent has expired. Compl. ¶¶ 53, 108.

Syngenta adds AIs to this program to compete against generics. Id. ¶ 56.

       Syngenta’s “marketing agreements” with distributors offer the

opportunity to receive a year-end rebate that reduces the net price of

products containing a certain AI if the distributor meets a negotiated




                                         9



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threshold for the purchase or sale of such products. Compl. ¶¶ 60, 62-63. 6

Although Plaintiffs rhetorically disparage Syngenta’s payments as “exclusion

payments” (see, e.g., id. ¶ 54), Plaintiffs concede that they are actually

“payments in the form of rebates.” Id. ¶ 200. 7 “Distributors profit more from

accepting [Syngenta’s rebates] than they would from distributing lower-

priced generic products in substantial volumes.” Id. ¶ 7.

      The rebate thresholds and amounts differ “by year, by [AI], and by

distributor.” Compl. ¶¶ 63-64. The thresholds for the AIs at issue are

currently in the 90-92% range, and Syngenta has lowered these thresholds

over time. Id. ¶¶ 87, 96, 108. Not all distributors meet their thresholds, but

no penalty results; others exceed them, but the rebate level does not increase.

Id. ¶¶ 75, 80.




      6 For each AI, the rebate threshold is calculated as follows:




Compl. ¶ 62. Eligible products include “Syngenta-branded products and
certain non-Syngenta products for which the [AI] is sourced from Syngenta.”
Id. Other products, including products containing an AI purchased from
Syngenta, are “neutral” and count “in neither the numerator nor the
denominator.” Id.
      7 The FTC Chair has publicly disparaged Syngenta’s rebates as

“payoffs.” See www.ftc.gov/news-events/news/press-releases/2022/09/ftc-
state-partners-sue-pesticide-giants-syngenta-corteva-using-illegal-pay-block-
scheme-inflate.
                                        10



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      The rebate program for retailers is “similar,” except retailers earn

rebates by choosing to meet the rebate threshold (not under written

agreements). Compl. ¶ 66. Retail rebates generally equal “5% of total

eligible purchases of covered Syngenta products.” Id.

      Plaintiffs plead no potentially coercive non-price features of Syngenta’s

loyalty rebate program. No alleged facts show, for example, that

(i) Syngenta’s marketing agreements contractually obligate distributors to

purchase any minimum amount of Syngenta’s products or prohibit

distributors from dealing with generic competitors; (ii) Syngenta’s loyalty

rebates involve more than one AI (that is, are “bundled”) or more than one

year; or (iii) Syngenta threatens or imposes any penalty (such as loss of

product supply, forfeiture of accrued rebates) for distributors or retailers who

fail to meet the threshold. See infra Point I.B.

      C.    Syngenta Products at Issue

      Plaintiffs’ allegations focus on three Syngenta AIs: azoxystrobin,

mesotrione, and metolachlor (including s-metolachlor). Compl. ¶ 83.

Azoxystrobin is a “broad-spectrum fungicide used to protect a wide variety of

crops from fungal diseases.” Id. ¶ 84. Mesotrione and metolachlor are

herbicides that protect corn, and metolachlor also protects a variety of other

crops. Id. ¶¶ 93, 106.



                                       11



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      Plaintiffs allege that Syngenta added each AI to its rebate program in

response to market entry by generics, which have lower prices. Compl.

¶¶ 85-87, 94-96, 107-108. Plaintiffs concede that generic entry “caused

Syngenta to reduce prices” of azoxystrobin, mesotrione, and metolachlor

products. Id. ¶¶ 92, 100, 114.

      D.       Supply Agreements Between Syngenta and Corteva

      Corteva makes a mixture containing mesotrione, which Syngenta

              supplies under an agreement providing that Corteva’s product is

             under Syngenta’s loyalty rebate program. Compl. ¶¶ 101-102, 191-

192. Syngenta also is Corteva’s              supplier of s-metolachlor under an

agreement providing that Corteva’s s-metolachlor products are

                     under Syngenta’s rebate program’s threshold calculations.

Id. ¶ 115.

                             LEGAL STANDARDS

      A claim should be dismissed under Rule 12(b)(6) when Plaintiffs fail to

plead facts sufficient “to raise a right to relief above the speculative level,”

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545 (2007)—including when the

well-pleaded allegations of fact do not state a claim that is “plausible on its

face.” Woods v. Gerber Life Ins. Co., 536 F. Supp. 3d 15, 18 (M.D.N.C. 2021).

In assessing plausibility, the court relies “upon its judicial experience and

common sense.” Id. Given “the costs of modern federal antitrust litigation,”

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antitrust cases should not proceed “into discovery when there is no

reasonable likelihood that the plaintiffs can construct a claim from the events

related in the complaint.” Twombly, 550 U.S. at 558.

       A complaint’s conclusory factual allegations and legal conclusions are

not credited on a motion to dismiss. Id. at 556-57; Shore v. Charlotte-

Mecklenburg Hosp. Auth., 412 F. Supp. 3d 568, 572-73 (M.D.N.C. 2019). Nor

can a plaintiff “rely on bare allegations relating to the conduct of ‘all

defendants’ to hold a defendant liable.” Intercollegiate Women’s Lacrosse

Coaches Ass’n v. Corrigan Sports Enters., Inc., 505 F. Supp. 3d 570, 581–82

(M.D.N.C. 2020).

                                  ARGUMENT

I.     The Complaint Fails to State a Federal Antitrust Claim

       Plaintiffs’ allegations plainly fail to state an antitrust claim under well-

established law. The well-pleaded allegations show that under Syngenta’s

loyalty rebate program, there is no stick, and price is the only carrot. Of

course, price competition itself can exclude competitors, but the antitrust laws

prohibit only anticompetitive exclusion. See, e.g., Brooke Grp. Ltd. v. Brown

& Williamson Tobacco Corp., 509 U.S. 209, 223 (1993).

       We are aware of no case condemning as anticompetitive an above-cost

market share rebate program, such as Syngenta’s, that lacks coercive non-

price features. The FTC’s attempt to create such a precedent through this

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case highlights how radically it seeks to transform settled antitrust law.

Indeed, by seeking to enjoin a pure price-cutting practice, this lawsuit seeks

to upend rational antitrust law.

      A.    The Price-Cost Test Applies to
            Non-Coercive, Single Product Loyalty Rebates

      The gravamen of Plaintiffs’ claims under Section 5 of the FTC Act,

Section 3 of the Clayton Act, and Sections 1 and 2 of the Sherman Act is the

same: Syngenta’s loyalty rebate program allegedly constitutes de facto

exclusive dealing that denies or impedes generic manufacturers access to

distributors. See, e.g., Compl. ¶ 5 (“Defendants use their loyalty programs to

exclude generic manufacturers from the traditional distribution channel”); id.

¶ 7 (“Defendants’ loyalty programs are designed to hinder the entry and

expansion of generic ma[n]ufacturers ….”).

      Loyalty or “market share” discounts or rebates challenged as de facto

exclusive dealing are not unlawful on their face but instead are analyzed

under the rule of reason. See, e.g., Eisai, 821 F.3d at 403 (Sherman Act § 1

and Clayton Act § 3); Concord Boat Corp. v. Brunswick Corp., 207 F.3d 1039,

1060 (8th Cir. 2000) (Sherman Act §§ 1 and 2). Where “price is the clearly

predominant mechanism of exclusion,” the rule of reason standard is applied

through the “price-cost test.” Eisai, 821 F.3d at 409. The principles

underlying this test “extend to above-cost discounting or rebate programs,


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which condition the discounts or rebates on the customer’s purchasing of a

specified volume or a specified percentage of its requirements from the

seller.” ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, 275 (3d Cir. 2012).

Failure to satisfy the price-cost test requires that claims based on alleged

rebates should be dismissed at the pleading stage. Pac. Bell Tel. Co. v.

linkLine Commc’ns, Inc., 555 U.S. 438, 451-52 (2009) (dismissing claim).

      One of the bedrock principles on which the price-cost test rests is that

“cutting prices to increase business is ‘the very essence of competition.’”

Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451, 478 (1992)

(quoting Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 594

(1986)); accord, e.g., linkLine, 555 U.S. at 451. In Matsushita, the Supreme

Court rejected an attempt “to prove an antitrust conspiracy ‘through evidence

of rebates and other price-cutting activities.’” Eastman Kodak, 504 U.S. at

478 (quoting Matsushita, 475 U.S. at 594). The Court explained that

“mistaken inferences” in an antitrust case based on price-cutting “are

especially costly, because they chill the very conduct the antitrust laws are

designed to protect.” Matsushita, 475 U.S. at 594; accord, e.g., Brooke Grp.,

509 U.S. at 226.

      The price-cost test is buttressed by the principle that “[l]ow prices

benefit consumers regardless of how those prices are set, and so long as they



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are above predatory levels, they do not threaten competition.” Atl. Richfield

Co. v. USA Petroleum Co., 495 U.S. 328, 340 (1990) (“ARCO”).

      On this settled legal foundation, courts have upheld as pro-competitive

above-cost market share rebates and discounts that lack coercive non-price

features. See, e.g. Eisai, 821 F.3d at 409; Concord Boat, 207 F.3d at 1063; see

also In re EpiPen Mktg., Sales Practices & Antitrust Litig., 44 F.4th 959, 1000

(10th Cir. 2022) (concluding that rebate “payments exemplified vigorous price

competition—something we strenuously protect”); NicSand, Inc. v. 3M Co.,

507 F.3d 442, 452 (6th Cir. 2007) (en banc) (manufacturer’s payments for

exclusive distribution “furthered” “the competition-enhancing goals of the

antitrust laws”).

      The test for when a market share rebate or discount might be

anticompetitive is also well developed:

      [C]ontracts in which discounts are linked to purchase (volume or
      market share) targets are frequently challenged as de facto
      exclusive dealing arrangements on the grounds that the
      discounts induce customers to deal exclusively with the firm
      offering the rebates. However, when price is the clearly
      predominant mechanism of exclusion, the price-cost test tells us
      that, so long as the price is above-cost, the procompetitive
      justifications for, and the benefits of, lowering prices far outweigh
      any potential anticompetitive effects.

ZF Meritor, 696 F.3d at 275. In ZF Meritor, the Third Circuit “join[ed] [its]

sister circuits in holding that the price-cost test applies to market-share or



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volume rebates offered by suppliers within a single-product market.” Id. at

275 n.11.

      Under the price-cost test, courts first consider “whether the conduct

constitutes an exclusive dealing arrangement or simply a pricing practice”—

that is, whether “price is the clearly predominant mechanism of exclusion.”

Eisai, 821 F.3d at 408-09. If price predominates, then the rule of reason

applies through the price-cost test, under which plaintiffs may succeed only if

defendant’s prices fall below cost. Id. Plaintiffs fail to state a claim as a

matter of law because they do not—and cannot—allege facts showing

(i) Syngenta’s rebate program entails non-price coercion (much less that

coercion predominates over pricing) or (ii) Syngenta’s post-rebate prices are

below cost.

      The analysis is no different under Section 5 of the FTC Act. “[W]hile

‘unfair competition’ [under Section 5] may not be coterminous with

‘anticompetitive conduct,’ the two concepts are still intimately intertwined.”

S.C. State Bd. of Dentistry v. FTC, 455 F.3d 436, 443 n.7 (4th Cir. 2006). As

the FTC has acknowledged, “[w]hile Section 5 may empower the Commission

to pursue those activities which offend the ‘basic policies of the antitrust

laws, we do not believe that power should be used to reshape those policies

when they have been clearly expressed and circumscribed.” Gen. Foods

Corp., 103 F.T.C. 204, 365 (1984). Thus, using Section 5 to condemn conduct

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that is protected as procompetitive under the price-cost test would be directly

contrary to the FTC Act’s purpose of “protect[ing] society against oppressive

anti-competitive conduct.” E.I. du Pont de Nemours & Co. v. FTC, 729 F.2d

128, 136 (2d. Cir. 1984) (citing H.R. Rep. No. 1142, 63d Cong., 2d Sess. 19

(1914)).

      B.    Syngenta’s Loyalty Rebates, Which Lack Any Coercive
            Non-Price Feature, Are “the Very Essence of Competition”

      The well-pleaded facts of the Complaint, rid of its rhetoric, show that

Syngenta’s rebates constitute price competition of the very kind that the

Supreme Court sought to protect in Matsushita.

      Syngenta’s rebates offer distributors and retailers lower net prices to

incentivize them to purchase more of each Syngenta AI. See, e.g., Compl. ¶ 6

(deriding as “exclusion payments” Syngenta’s “incentive payments based on

[a distributor’s] purchases of branded crop-protection products”). The

threshold for earning a rebate is market-share based, see id. ¶¶ 61, 66, so the

incentives exist regardless of the customer’s size.

      Significantly, Plaintiffs do not—and cannot—plead that Syngenta’s

loyalty rebates entail any of the non-price coercive features that courts have

required before deeming a market share rebate or discount to be potentially

anticompetitive:




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   • Syngenta’s rebate program does not “contractually obligat[e] customers
     to purchase a set percentage of their [product] requirements” from
     Syngenta. 8
   • Syngenta’s rebates are not “conditioned … on purchases across various
     product lines” 9 and do not involve “tying or bundling with another
     product.” 10
   • Syngenta does not threaten distributors that purchased its competitors’
     products that they may lose “any unpaid rebates [they had accrued]” or
     “be cut off from purchasing” Syngenta’s products. 11
   • Syngenta’s rebate program is not “unilaterally imposed by fiat upon all
     distributors” 12 and customers are “free to walk away from [Syngenta’s]
     discounts at any time.” 13




      8 Allied Orthopedic Appliances Inc. v. Tyco Health Care Grp. LP, 592

F.3d 991, 997 n.2 (9th Cir. 2010) (distinguishing Masimo Corp. v. Tyco Health
Care Grp., L.P., 350 F. App’x 95 (9th Cir. 2009)).
      9 Eisai, 821 F.3d at 405.

      10 Concord Boat, 207 F.3d at 1062; see ZF Meritor, 696 F.3d at 282

(explaining that in LePage’s Inc. v. 3M, 324 F.3d 141, 157-58 (3d Cir. 2003),
the court “held that bundled rebates and discounts offered to major suppliers
were designed to and did operate as exclusive dealing arrangements”).
      11 McWane, Inc. v. FTC, 783 F.3d 814, 820-21 (11th Cir. 2015); see ZF

Meritor, 696 F.3d at 265, 278 (“compliance with the market penetration
targets was mandatory because failing to meet such targets would jeopardize
the [customer’s] relationships with” the defendant, which could also require
“repayment of all contractual savings” under long-term agreements); United
States v. Dentsply Int’l, Inc., 399 F.3d 181, 194 (3d Cir. 2005) (policy under
which manufacturer stopped supplying dealers who carried competing
manufacturers’ products violated § 2).
      12 McWane, 783 F.3d at 834.

      13 Concord Boat, 207 F.3d at 1063.

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The only well-pleaded consequence to a distributor or retailer that does not

meet Syngenta’s rebate threshold for a particular AI is not earning the rebate

for that AI that year. This is not illegal or anticompetitive.

      The few precedents that have found loyalty programs to be

anticompetitive highlight the absence of any similarly coercive features in

Syngenta’s program. In McWane, the manufacturer’s mandatory loyalty

program compelled exclusivity from distributors to avoid being “cut off” from

purchasing the manufacturer’s products and forfeiting accrued rebates. 783

F.3d at 821, 834. In Dentsply, the manufacturer prohibited dealers from

offering competitors’ products, backed by threats to “sever access” to not only

defendant’s competing artificial tooth products, but also its “other dental

products.” 399 F.3d at 185, 190. ZF Meritor involved “restrictive long-term

agreements,” each a minimum of five years, under which customers failing to

meet volume targets for a single year risked forced “repayment of all

contractual savings,” along with “cancellation of the contract, price increases,

and shortages”—so, in practice, “compliance with the market penetration

targets was mandatory.” 696 F.3d at 265, 277-78, 287. Further, the

defendant “forced” its customers to exclude competitors’ products from

“essential” marketing materials provided to consumers (“data books”),

thereby “block[ing]” consumer access to competing products. Id. at 264, 277.



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      Syngenta’s loyalty rebate program does not impose any non-price

means of exclusivity—much less any that predominates over price. To the

contrary, Syngenta’s rebates are specific to products containing a particular

AI during a single year. Compl. ¶¶ 54, 61, 66. The single-AI feature of

Syngenta’s rebates undermines Plaintiffs’ antitrust claims because “when a

firm uses a single-product loyalty discount or rebate to compete with similar

products,” “pricing [usually] predominates over other means of exclusivity.”

Eisai, 821 F.3d at 409.

      The single-year term of the rebates further undermines Plaintiffs’

antitrust claims because, as the Fourth Circuit has held, even express

exclusive dealing agreements—which are not at issue here—with a one-year

duration are presumptively incapable of harming competition. See, e.g., R.J.

Reynolds Tobacco Co. v. Philip Morris Inc., 199 F. Supp. 2d 362, 391

(M.D.N.C. 2002) (“The Fourth Circuit has held that exclusive contracts

terminable after thirty days to one year do not have substantial

anticompetitive effects.”) (citing Thompson Everett, Inc. v. Nat’l Cable

Advert., L.P., 57 F.3d 1317, 1326 (4th Cir. 1995)), aff’d sub nom. RJ Reynolds

Tobacco Co. v. Philip Morris USA, Inc., 67 F. App’x 810, 812 (4th Cir. 2003)

(affirming “on the reasoning of the district court with one [inapplicable]

exception”).



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      In an attempt to save their claims, Plaintiffs improperly employ group

pleading and otherwise vague allegations of coercion. Plaintiffs allege, for

example, that “Defendants … threaten penalties for disloyalty.” Compl. ¶ 7;

see also id. ¶ 82 (“Defendants have retaliated and threatened to retaliate in

other ways against distributors that failed to satisfy applicable loyalty

thresholds, including by canceling distribution contracts, delaying access to

new products, or withholding product allocation during a supply shortage.”).

But Plaintiffs plead no facts showing any such retaliation by Syngenta—

much less that any distributor’s supply issues were connected to the rebate

program that Plaintiffs seek to enjoin.

      Thus, Plaintiffs’ allegations of “penalties” and “retaliation” are useful

only in that they identify the deficiencies in the Complaint that Plaintiffs

seek to obscure. Plaintiffs’ conclusory attempts to cure these deficiencies do

not save Plaintiffs’ claims. See Corrigan Sports, 505 F. Supp. 3d at 582 (“[A]

plaintiff cannot rely on bare allegations relating to the conduct of ‘all

defendants’ to hold [a defendant] liable, but must identify specific acts or

conduct taken by each defendant to state a claim.”); Covert v. Stryker Corp.,

2009 WL 2424559, at *10 (M.D.N.C. Aug. 5, 2009) (“[I]t is only by taking care

to require allegations that reach the [requisite] level [of specificity] … that we

can hope to avoid the potentially enormous expense of discovery in cases with



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no reasonably founded hope that the discovery process will reveal relevant

evidence to support [the alleged] claim.”) (quoting Twombly, 550 U.S. at 559).

      That Plaintiffs have only vague allegations and group pleading is

especially noteworthy here because the FTC investigated Syngenta for three

years before suing. If there were any facts that supported Plaintiffs’

conclusory claims of coercion by Syngenta, those facts surely would have been

pleaded in the 91-page Complaint.

      In a final effort to muddy the waters, Plaintiffs allege that Syngenta

has two agreements under which it               supplies Syngenta AIs

(mesotrione and s-metolachlor, respectively) to Corteva for use in products

that compete against Syngenta products. Compl. ¶¶ 101-103, 115, 191-192.

But there is no showing that either of these (unremarkable) supply

agreements has any substantial effect on competition. See, e.g., E.I. du Pont

de Nemours & Co. v. Kolon Indus., Inc., 637 F.3d 435, 451 (4th Cir. 2011)

(“[A]n exclusive deal affecting a small fraction of a market clearly cannot

have the requisite harmful effect upon competition[.]”).

      Instead, the Complaint shows that




                     Compl. ¶ 191. These facts demonstrate price



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competition in action—and undermine Plaintiffs’ argument that Syngenta’s

loyalty program forecloses generic competition. See infra Point II.C.

      C.    Plaintiffs Have Failed to Plead Harm to Competition

      “The antitrust laws were enacted for the protection of competition, not

competitors.” ARCO, 495 U.S. at 338. “To hold that the antitrust laws

protect competitors from the loss of profits due to nonpredatory price

competition would, in effect, render illegal any decision by a firm to cut prices

in order to increase market share.” Id.

      Plaintiffs argue that Syngenta’s rebate program has “impaired the

competitiveness of generic competitors” and resulted in generics “exit[ing]”

the market or abandoning “plans to enter.” Compl. ¶ 157. But Plaintiffs do

not plead facts showing anticompetitive exclusion of generic competitors, as

opposed to the effects of lawful price competition.

      And Plaintiffs cannot, as a matter of law, infer exclusion. It is

impermissible to infer that a defendant’s “superior market share was

achieved or maintained by means other than competition on the merits”

through non-coercive, above-cost market share discounts that did not entail

“tying or bundling with another product.” Concord Boat, 207 F.3d at 1062.

Where, as here, “customers had the ability to switch to competing products

[but] simply chose not to do so,” it is improper to infer that “the probable

effect of [a loyalty rebate program] was to substantially lessen competition in

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the relevant market, rather than to merely disadvantage rivals.” Eisai, 821

F.3d at 407-08.

      Thus, even crediting Plaintiffs’ speculation that generic competitors

would sell more product absent Syngenta’s loyalty rebates, such speculation

cannot establish anticompetitive foreclosure. See, e.g., NicSand, 507 F.3d at

455 (“[The plaintiff’s] injury does not correspond to any allegedly

anticompetitive effect on the market but rather a truly competitive one.”).

      Where a customer’s choice is incentivized by a lower price, and not

coerced, the resulting effect on competitors is not anticompetitive. Thus, any

potential to foreclose competition is negated where, as here, “[a]ny customer

subject to one of [Syngenta’s] market-share [rebate] agreements could choose

at anytime to forego the [rebate] offered by [Syngenta] and purchase from a

generic competitor.” Tyco, 592 F.3d at 997. “[T]he threat of a lost discount is

a far cry from the anticompetitive conduct at issue in ZF Meritor or

Dentsply.” Eisai, 821 F.3d at 407. Absent “the kind of clear-cut harm to

competition that was present” in those cases—mandatory compliance with

threshold targets (ZF Meritor) and threats to cut off supply if customers

purchased any products from competitors (Dentsply)—Plaintiffs are unable to

demonstrate anticompetitive foreclosure. Id.

      Plaintiffs do not explain why generic competitors do not likewise offer

rebates, or otherwise lower their prices, to make their products more

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profitable to distributors. If, as Plaintiffs assert, “[d]istributors profit more

from accepting [Syngenta’s rebates] than they would from distributing lower-

priced generic products in substantial volumes” (Compl. ¶ 7), then it is

economically rational for distributors not to distribute generics in greater

volume if generic manufacturers do not lower their prices to distributors (or

increase the quality of their products so they command higher prices when

distributors resell them).

      Not only have Plaintiffs failed to plead that Syngenta’s rebate program

entails the type of conduct that could harm competition, but Plaintiffs have

affirmatively pleaded facts showing the program has not insulated Syngenta

from generic competition—thus undermining the essential element of

anticompetitive foreclosure. See Eisai, 821 F.3d at 407.

      Specifically, Plaintiffs allege that in 2017—years after Syngenta added

mesotrione to its loyalty program (Compl. ¶ 96)—Corteva



          Id. ¶ 191. The prospect of Corteva                            allegedly

posed a “competitive threat” to Syngenta that



              Compl. ¶¶ 101-102.

      If, however, Syngenta’s loyalty program foreclosed generic mesotrione

competition, then Syngenta could not have been, years later, vulnerable to a

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      D.      Plaintiffs Do Not Plead a Plausible Product Market

      Plaintiffs’ failure to define a plausible relevant product market is

independently fatal to their antitrust claims. Ohio v. Am. Express Co., 138 S.

Ct. 2274, 2285 (2018) (“Amex”) (Sherman Act § 1); Kolon Indus., 637 F.3d at

441 (Sherman Act § 2); FTC v. Tenet Health Care Corp., 186 F.3d 1045, 1051

(8th Cir. 1999) (Clayton Act); McWane, 783 F.3d at 828 (FTC Act § 5).

Plaintiffs must define a relevant product market even when they “rely

exclusively on direct evidence to prove that [the defendant’s challenged

actions] have caused anticompetitive effects in [a] market,” because “[t]o

assess this evidence, [plaintiffs] must first define the relevant market.”

Amex, 138 S. Ct. at 2284-85.

      Product market definition “depends on whether [a product] is

reasonably interchangeable with other products or the extent to which

consumers will change their consumption of one product in response to a

price change in another.” It’s My Party, Inc. v. Live Nation, Inc., 811 F.3d

676, 683 (4th Cir. 2016). The foremost obligation in market definition is to

reflect the commercial realities. See Amex, 138 S. Ct. at 2285; Brown Shoe

Co. v. U.S., 370 U.S. 294, 336-37 (1962). A market pleaded more narrowly

than the obvious set of reasonably interchangeable substitutes is not

plausible. E.g. Chapman v. N.Y. State Div. for Youth, 546 F.3d 230, 238 (2d

Cir. 2008).

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      Plaintiffs’ narrow, AI-specific product markets are implausible because

Plaintiffs plead no facts excluding similar AIs with overlapping uses from

these markets. Plaintiffs acknowledge that “[AIs] that share a common mode

of action tend to have similar use cases.” Compl. ¶ 40. Plaintiffs further

concede that azoxystrobin is a versatile pesticide “used across all major row

crops,” and that “other” herbicide AIs are “similar” to each of mesotrione and

metolachlor. Id. ¶ 150(a)-(c). The existence of functional substitutes requires

Plaintiffs to plead facts that justify excluding the substitutes from the alleged

product markets. See, e.g., Bayer Schering Pharma AG v. Sandoz, Inc., 813

F. Supp. 2d 569, 577 (S.D.N.Y. 2011) (dismissing antitrust claims because the

plaintiff did not “allege sufficient facts about other [potentially substitutable

products] to make its proposed [single molecule combination] product market

plausible”).

      Plaintiffs fail to meet this pleading requirement. They seek to

“differentiate” Syngenta’s AIs at issue from the similar AIs—alleging, for

example, that azoxystrobin is more versatile and may have “effects not

proven in other [AIs]”; mesotrione is “superior” in certain respects; and

metolachlor “outperforms” other AIs in other respects. Compl. ¶ 150(a)-(c).

But merely claiming that a product has some unique qualities, or that

consumers may prefer one product over another, is not sufficient. See, e.g.,

Murrow Furniture Galleries, Inc. v. Thomasville Furniture Indus., Inc., 889

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F.2d 524, 528 (4th Cir. 1989) (“Courts have repeatedly rejected efforts to

define markets by price variances or product quality variances. Such

distinctions are economically meaningless where the differences are actually

a spectrum of price and quality differences.”) (emphasis in original); Allen-

Myland, Inc. v. IBM Corp., 33 F.3d 194, 206 (3d Cir. 1994)

(“‘Interchangeability’ implies that one product is roughly equivalent to

another for the use to which it is put; while there might be some degree of

preference for the one over the other, either would work effectively.”); Glob.

Disc. Travel Servs.. LLC v. TWA, Inc., 960 F. Supp. 701, 705 (S.D.N.Y. 1997)

(Sotomayor, J.) (“A consumer might choose to purchase a certain product

because the manufacturer has spent time and energy differentiating his or

her creation from the panoply of products in the market, but at base, Pepsi is

one of many sodas, and NBC is just another television network.”).

      Plaintiffs also attempt to limit their product markets to a single AI on

the grounds that Syngenta’s AIs are arguably superior in certain respects to

other AIs. But that is especially implausible given Plaintiffs’ allegations

implying that Syngenta’s AIs are also superior to generic manufacturers’

versions of Syngenta’s AIs. Compl. ¶ 98 (tepidly alleging that generics are “of

sufficient quality and supply availability”). Under Plaintiffs’ contorted logic,

Syngenta’s AIs have quality differences from other substitutable AIs and

those AIs should therefore be excluded—but Syngenta’s AIs also have quality

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differences from generic versions of the same AIs, and yet those AIs should be

included. Plaintiffs rest their market definition on a line of logic that directly

undermines itself.

      Plaintiffs also insist that a generic version of an AI “is a closer

substitute for a given branded product than is a product containing a

different [AI].” Compl. ¶ 40. But the legal standard governing product

markets is “reasonable interchangeability” for use by consumers, and under

this standard, alleging that there is a relatively “closer substitute” does not

establish the outer limits of the market. Indeed, if “closer substitute” were

the standard, then there would never be a relevant market that goes beyond

identical products—which, of course, is not the case. See, e.g., United States

v. Grinnell Corp., 384 U.S. 563, 572 (1966) (“We see no barrier to combining

in a single market a number of different products or services where that

combination reflects commercial realities.”).

      The unreasonable narrowness of Plaintiffs’ single-AI product markets

is confirmed by the FTC’s own prior market definitions, including for the

same AIs at issue here. The FTC stated in a merger proceeding, for example,

that the relevant product market for metolachlor is “pre-emergent




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herbicides.” In re Novartis AG (FTC No. 001-0082) (Nov. 1, 2000). 14 The FTC

also stated, in that matter, that Corteva’s acetochlor belongs in the same

multiple-AI relevant market as metolachlor:

      Most pre-emergent herbicides used by corn growers to control
      grassy weeds belong to a class of chemicals known as
      acetanilides. The major [AIs] within this class are metolachlor,
      acetochlor, and dimenthenamid. These products are used by
      growers because preventing early competition between the
      growing corn and grassy weeds for water and nutrients is
      essential to the economic production of corn. … [F]armers have
      no economic substitutes for acetanilide herbicides.

Id. Here, Plaintiffs neglect to inform the Court that the unidentified AIs they

allege are “similar” to Syngenta’s metolachlor include Corteva’s acetochlor.

Compl. ¶ 150(c).

      Similarly, the FTC—and the U.S. Department of Justice (“DOJ”)—have

alleged multi-AI crop protection product markets in other antitrust matters.

See, e.g., United States v. Bayer AG, 83 Fed. Reg. 27652, 27653 (DOJ June 13,

2018) (analyzing alleged “foundational herbicides” and “nematicidal seed

treatments” product markets); United States v. The Dow Chemical Co., 82




      14 Available at

www.ftc.gov/sites/default/files/documents/cases/2000/11/novartanalyis.htm.
      The Court may take judicial notice of this document as a “matte[r] of
public record.” Justice 360 v. Stirling, 42 F.4th 450, 455 (4th Cir. 2022); see
Guthrie v. McClaskey, 2012 WL 5494457, at *3 (W.D. Va. Nov. 13, 2012)
(courts can take judicial notice of “public records of an administrative body”
on a motion to dismiss) (citing cases).
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Fed. Reg. 28887, 28887 (DOJ June 26, 2017) (analyzing alleged “broadleaf

herbicides for winter wheat” and “insecticides for chewing pests” product

markets); Ciba-Geigy Ltd., 62 Fed. Reg. 409, 412 (FTC Jan. 3, 1997) (analysis

of alleged “corn herbicides for pre-emergent control of grasses” product

market—including metolachlor—and “corn herbicides for post-emergent

control of broadleaf weeds” product market).

        The difference in the FTC’s prior functional markets and its AI-specific

markets here does not appear to be based in different facts, but instead in the

evolving philosophy of the FTC’s Chair, who has charged her predecessors

with “abdicat[ing]” their responsibilities to enforce the antitrust laws by

interpreting Section 5 in accord with well-established antitrust law. See

supra n.3. By defining different relevant product markets for the same

products in different cases, the FTC is attempting to “gerrymander its way to

an antitrust victory.” It’s My Party, Inc., 811 F.3d at 683.

II.     The Complaint Fails to State a Claim Under State Law

        A.    The State Law Antitrust Claims Fail

        Because the state antitrust statutes at issue are interpreted

consistently with federal antitrust law, the state law antitrust claims brought

by plaintiff States fail for the same reasons as Plaintiffs’ federal claims. See,

e.g., Epic Games, Inc. v. Apple Inc., 559 F. Supp. 3d 898, 1048 (N.D. Cal.

2021) (Count V ¶ 207); Epic Games, Inc. v. Apple, Inc., 2021 WL 6755197, at

                                        33



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*1 (9th Cir. Dec. 8, 2021) (Count V ¶ 208); Four Corners Nephrology Assocs.,

P.C. v. Mercy Med. Ctr. of Durango, 582 F.3d 1216, 1219-20 (10th Cir. 2009)

(Count VI); Hannah’s Boutique, Inc. v. Surdej, 112 F. Supp. 3d 758, 765 n.7

(N.D. Ill. 2015) (Count VII); Midwest Gas Servs., Inc. v. Ind. Gas Co., 317

F.3d 703, 714 (7th Cir. 2003) (Count VIII ¶ 219(b)-(c)); Chicoine v. Wellmark,

Inc., 894 N.W.2d 454, 462 (Iowa 2017) (Count IX ¶¶ 221-222); Lorix v.

Crompton Corp., 736 N.W.2d 619, 626 (Minn. 2007) (Count X); Triple 7, Inc.

v. Intervet, Inc., 338 F. Supp. 2d 1082, 1087 (D. Neb. 2004) (Count XI); Volm

v. Legacy Health Sys., Inc., 237 F. Supp. 2d 1166, 1174 (D. Or. 2002)

(Count XII); JSW Steel (USA) Inc. v. Nucor Corp., 586 F. Supp. 3d 585, 601

(S.D. Tex. 2022) (Count XIII); Arandell Corp. v. Centerpoint Energy Servs.,

Inc., 900 F.3d 623, 629 (9th Cir. 2018) (Count XIV).

      B.    The State Law Consumer Protection Claims Fail

      Indiana’s consumer protection claim (Count VIII ¶ 219(a)) fails because

it does “not distinguish between its allegations of ‘incurable deceptive acts’

(which require intent) and ‘deceptive acts’ (which do not),” such that “the

entire complaint” is subject to Rule 9(b) but does “not meet its requirements.”

McKinney v. State, 693 N.E.2d 65, 71 (Ind. 1998).

      Iowa’s consumer protection claim (Count IX ¶¶ 223-224) fails because

it does not plead facts showing any fraud or deceptive conduct satisfying Rule

9(b), Moeller v. Samsung Electronics Am., Inc., 2022 WL 4182205, at *4 (S.D.

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Iowa Aug. 24, 2022), or any “unfair practic[e]” resulting in “unavoidable

injury to consumers” that “is not outweighed by any consumer or competitive

benefits which the practice produces.” Iowa Code § 714.16(1)(n).

III.     Plaintiffs’ Group Pleading Fails to State a Claim Against
         Syngenta Crop Protection AG or Syngenta Corporation

         Plaintiffs’ allegations do not show that either Syngenta Crop Protection

AG or Syngenta Corporation participated in the challenged conduct. As this

Court has held:

         In an action against multiple defendants, a complaint must state
         facts that support a cause of action against each individual
         defendant. Blanket conclusory allegations as to multiple
         defendants are insufficient. A plaintiff cannot rely on bare
         allegations relating to the conduct of “all defendants” to hold a
         defendant liable.

Corrigan Sports, 505 F. Supp. 3d at 582; see also SD3, LLC v. Black & Decker

(U.S.) Inc., 801 F.3d 412, 422 (4th Cir. 2015) (“A plaintiff in a[n antitrust]

case cannot assemble some collection of defendants and then make vague,

non-specific allegations against all of them as a group.”) Plaintiffs do not

meet this standard.

         Plaintiffs vaguely allege that the Syngenta-affiliated Defendants “each

transacts or has transacted business in this District, and each is engaged in

the development, manufacture, and sale of crop-protection products.” Compl.

¶ 31. But Plaintiffs fail to specify which, if any, of these three Defendants is

the subject of any given allegation against “Defendants” or “Syngenta.”

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Indeed, each of the parent companies is mentioned only three times in the

Complaint. See id. ¶¶ 1, 28, 29, 31. Plaintiffs’ group pleading does not

satisfy Rule 8. See SD3, 801 F.3d at 422 (“[I]f [the complaint] fails to allege

particular facts against a particular defendant, then the defendant must be

dismissed.”); Corrigan Sports, 505 F. Supp. 3d at 581-82 (“[A] plaintiff …

must identify specific acts or conduct taken by each defendant to state a

claim.”).

                                CONCLUSION

      For all these reasons, the Complaint should be dismissed in its

entirety. Because the Complaint followed a multi-year FTC investigation,

this dismissal should be with prejudice.

Date: December 12, 2022

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                   CERTIFICATE OF WORD COUNT

     I hereby certify that the foregoing document contains 7,726 words,

excluding those portions exempted by Local Rule 7.3(d).

                                         /s/Patrick M. Kane
                                         Patrick M. Kane




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